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UNITED srArES DISTRICT coURT " “` "'
soUrHERN DISTRICT oF 1NDIANA 73 J;g;t; _ 3 PH h uh
INDIANAPOLIS DlvisloN

 

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
V_ ) CAUSE NO. l:l7-cr-l65-TWP-MJD
)
RICARDO OCHOA-BELTRAN, ) -01
aka “Ricardo Jovany Sanchez-Sandoval,” )
aka “Gio,” )
aka “Jesus Sanchez-Gallardo,” )
aka “Alejandro Garcia-Torres,” )
MIGUEL LARA-LEON, ) -02
aka “Chaparro,” )
CESAR SALGADO, ) -03
ANGELICA NAOMI GUZMAN-CORDOBA, ) -()4
LISSA GARCIA, ) -06
MEGAN CASTLETON, ) -07
BRYAN STOCKER, ) -08
)
Defendants. )

SUPERSEDING INDICTMENT

 

COUNT ONE
[ Conspiracy to Distribute Controlled Substances _ 21 U.S.C. § 846 ]

The Grand Jury charges that:

l. Beginning on a date unknown to the Grand Jury, but at least as early as January
2016, and continuing through on or about July 17 , 2017, in the Southern District of Indiana,
Indianapolis Division, and elsewhere, RICARDO OCHOA-BELTRAN, aka “Ricardo Jovany
Sanchez-Sandoval,” aka “Gio,” aka “Jesus Sanchez-Gallardo,” aka “Alejandro Garcia-Torres,”
MIGUEL LARA-LEON, aka “Chaparro,” CESAR SALGADO, and ANGELICA NAOMI
GUZMAN-CORDOBA, the defendants herein, and others known and unknown to the Grand

Jury, did knowingly and intentionally conspire together and with other persons known and

 

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unknown to the Grand Jury to possess with intent to distribute and to distribute controlled
substances, in violation of Title 21, United States Code, Section 841(a)(l).
7 OBJECTS OF THE CONSPIRACY

The charged conspiracy had the following obj ects:

2. The distribution of five hundred (500) grams or more of a mixture or substance
containing a detectable amount of methamphetamine, a Schedule II non~narcotic controlled
substance, and the possession with the intent to distribute the same;

3. The distribution of five (5) kilograms or more of a mixture or substance
containing a detectable amount of cocaine, a Schedule II narcotic controlled substance, and the
possession with the intent to distribute the same; and,

4. T he distribution of one (l) kilogram or more of a mixture or substance containing
a detectable amount of heroin, a Schedule I narcotic controlled substance, and the possession

with the intent to distribute the same.

 

MANNER AND MEANS

The charged conspiracy operated in the following manner:

5. OCHOA-BELTRAN directed the activities of a drug trafficking organization
(“DTO”) that operated in Indianapolis, lndiana, and elsewhere

6. OCHOA-BELTRAN supplied drugs, including methamphetamine, cocaine, and
heroin, to LARA-LEON, SALGADO, and GUZMAN-CORDOBA for re-distribution in the
Indianapolis, lndiana, area.

7. The co-conspirators transported, or caused the transport of, drugs to Indianapolis
for re-distribution. One method of transport was the mailing of drug packages from California to

Indianapolis.

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8. LARA-LEON advanced the DTO by, among other things, acting as a distributor
for the DTO.

9. SALGADO advanced the DTO by, among other things, acting as a drug
distributor for the DTO.

10. GUZMAN-CORDOBA advanced the DTO by, among other things, acting as a
drug distributor for the DTO.

l l. The co-conspirators maintained ledgers to keep track of money owed by DTO
customers as well as expenses paid by the DTO.

12. OCHOA-BELTRAN, LARA-LEON, SALGADO, and other co-conspirators
possessed firearms to protect themselves, their drugs, and their drug proceeds.

l3. OCHOA-BELTRAN, LARA-LEON, SALGADO, and other co-conspirators used,
and maintained properties to store, process, and distribute drugs and drug proceeds.

l4. The co-conspirators used cellular telephones and code words to facilitate their

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drug trafficking activities. These code words, which included “hemi,” “water, cream,” and
“blue,” referred to drugs.
ACTS IN FURTHERANCE OF THE CONSPIRACY
On or about the dates below, the defendants and others performed acts in furtherance of
the conspiracy and to effect the goals and conceal the existence of the conspiracy, in the
Southern District of lndiana, Indianapolis Division, and elsewhere, including but not limited to
the following:

15. On or about December l, 2016, LARA-LEON sold approximately 28.3 grams of

methamphetamine to a confidential source (CS) in Indianapolis, lndiana,

 

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16. On or about January 17, 2017, SALGADO, GUZMAN-CORDOBA and other
individuals known to the Grand Jury possessed approximately $131,421 in U.S. Currency.

17. On or about January 31, 2017, LARA-LEON sold approximately 59.3 grams of
methamphetamine to the CS in Indianapolis, Indiana.

18. On or about February 2l, 2017, LARA-LEON sold approximately 28.3 grams of
heroin to the CS in lndianapolis, lndiana,

19. On or about March 20, 2017 , LARA-LEON sold approximately 283 grams of
heroin to the CS in Indianapolis, Indiana.

20. On or about April 17, 2017, LARA-LEON arranged for an individual known to
the Grand Jury to sell approximately 85.0 grams of methamphetamine to the CS in lndianapolis,
Indiana. '

21. In or around June 2017, OCHOA-BELTRAN arranged for the CS to obtain a
cellular telephone with which the CS could communicate With the organization regarding drug
trafficking

22. On or about June 23, 2017, SALGADO arranged for GUZMAN-CORDOBA,
aided and abetted by Individual #l (identity known to the Grand Jury), to sell approximately
226.8 grams of methamphetamine to the CS. On that same date, GUZMAN-CORDOBA sold
approximately 226.8 grams of methamphetamine to the CS in lndianapolis, lndiana,

23. On or about July 11, 2017, SALGADO sold approximately 85.0 grams of
methamphetamine to the CS in Indianapolis, Indiana.

24. On or about July 17, 2017, OCHOA-BELTRAN supplied approximately60

grams of heroin to the CS in lndianapolis, lndiana, for re-distribution.

 

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25. On or about July 17, 2017, at a residence on Dearborn Street, Indianapolis,
lndiana, OCHOA-BELTRAN, LARA-LEON, SALGADO, and GUZMAN-CORDOBA
possessed the following:

a. Approximately 1.22 kilograms of heroin;

b. Approximately 2.12 kilograms of cocaine;

c. Drug ledgers;

d. Digital scales used to process and distribute drugs;

e. A Charter Arms, Model Off Duty .38 Special revolver, serial number

1124374;

f. A HiPoint 9 mm pistol, serial number P1693579;

g. A Cobra, Model CLB38, .38 caliber Derringer handgun;

h. A TAPCO USA rifle, serial number 24019993;

i. A Chiappa Firearms, Ltd., .22 caliber pistol, serial number D61959;
j. A Ruger AR-556 rifle, serial number 851-21479;

k. Assorted ammunition, and,

l. Approxirnately $9,7 95 in U.S. Currency.

26. On or about July 17, 2017, SALGADO possessed the following in a vehicle
parked outside of the Dearborn Street residence, in Indianapolis, Indiana:

a. A Smith & Wesson, Model M&Pl$ 5.5 6 caliber rifle, serial number

SU9 141 6 ;

b. An AWC Systems Technology, LLC, Model Optima II, 5.56 caliber

firearm silencer, serial number 970579;

c. Ammunition; and,

 

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d.

Approximately $4,620 in U.S. Currency.

27. On or about July 17 , 2017, LARA-LEON and another individual known to the

Grand Jury jointly possessed the following firearms and ammunition in a vehicle in Indianapolis,

Indiana:

a. A NORINCO 7.62 mm, Chinese SKS rifle, serial number 24010731;

b. A NORINCO 7.62 mm, Chinese SKS rifle, serial number 2213668B;

c. An AA Airns, Inc., 9mm Model AP9 pistol, serial number 056442;

d. A Ruger Model Security6, .35 7 Magnum revolver, serial number 157-
07399;

e. A FNH 5.7x28 caliber pistol, serial number 386226230;

f. A CN Romarm 7.62x39 mm rifle, serial number 1-46973-03;

g. An Areo Procesion Model X15, .223 caliber rifle, serial number
AR04266;

h. A Recoil Gun Works, Salem, Indiana RG15 .223 (.556 on barrel) rifle,
serial number RGB1415;

i. An Olyrnpic Arms, Model MFR, .223 rifle, serial number CH0522; and,

j. Approxirnately 1,000 rounds of various caliber ammunition.

All in violation of Title 21 , United States Code, Section 846.

COUNT TWO

[ Distiibution of Methamphetamine - 21 U.S.C. § 84l(a)(l) ]

The Grand Jury further charges that:

On or about December l, 2016, in the Southern District of lndiana, Indianapolis Division,

the Defendant, MIGUEL LARA-LEON, aka “Chaparro,” did knowingly and intentionally

distribute a mixture or substance containing a detectable amount of methamphetamine, a

 

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Schedule II, non-narcotic controlled substance, in violation of Title 21, United States Code,

Section 841 (a)(l).

COUNT THREE
[ Distribution of Methamphetamine ~ 2l U.S.C. § 84l(a)(l) ]

The Grand Jury further charges that:
On or about January 31 , 2017, in the Southern District of lndiana, lndianapolis Division,
the Defendant, MIGUEL LARA-LEON, aka “Chaparro,” did knowingly and intentionally
distribute 50 grams or more of a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II, non-narcotic controlled substance, in violation of Title 21,
United States Code, Section 841(a)(1).

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[ Distribution or Heroin - 21 U.s.C. § 841(3)(1) ]

The Grand Jury further charges that:

On or about February 21, 2017, in the Southern District of lndiana, lndianapolis Division,
the Defendant, MIGUEL LARA-LEON, aka “Chaparro,” did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of heroin, a Schedule I narcotic
controlled substance, in violation of Title 21, United States Code, Section 84l(a)(1). l

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The Grand Jury further charges that:

On or about March 20, 2017, in the Southern District of lndiana, lndianapolis Division,
the Defendant, MIGUEL LARA-LEON, aka “Chaparro,” did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of heroin, a Schedule I, narcotic

controlled substance, in violation of Title 21 , United States Code, Section 84l(a)(l).

 

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COUNT SIX
[ Distribution of Methamphetamine ~ 21 U.S.C. § 84l(a)(l) and 18 U.S.C. §82 ]

The Grand Jury further charges nthat:

On or about April l7, 2017, iii the Southern District of lndiana, lndianapolis Division, the
Defendant, MIGUEL LARA-LEON, aka “Chaparro,” aiding and abetting persons known and
unknown to the Grand Jury, did knowingly and intentionally aid and abet the distribution of 50
grams or more of a mixture or substance containing a detectable amount of methamphetamine, a
Schedule Il, non-narcotic controlled substance, in violation of Title 21, United States Code,
Section 84l(a)(l), and Title 18, United States Code, Section 2.

COUNT SEVEN
[ Distribution of Methamphetamine ~ 21 U.S.C. § 84l(a)(l) and 18 U.S.C. § 2 ]

The Grand Jury further charges that:

On or about June 23, 2017, in the Southern District of lndiana, lndianapolis Division, the
Defendants, CESAR SALGADO, ANGELICA NAOMI GUZMAN-CORDOBA, and LISSA
GARCIA, aiding and abetting one another and persons known and unknown to the Grand Jury,
did knowingly and intentionally distribute 50 grams or more of a mixture or substance containing
a detectable amount of methamphetamine, a Schedule II, non-narcotic controlled substance, in
violation of Title 21 , United States Code, Section 841(a)(1), and Title 18, United States Code,
Section 2.

COUNT EIGHT
[ Distribution of Methamphetamine - 21 U.S.C. § 841(a)(l) ]

The Grand Jury further charges that:
On or about July ll, 2017, in the Southern District of lndiana, lndianapolis Division, the

Defendant, CESAR SALGADO, did knowingly and intentionally distribute 50 grams or more of

 

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a mixture or substance containing a detectable amount of methamphetamine, a Schedule II, non-
narcotic controlled substance, in violation of Title 21 , United States Code, Section 841(a)(1).

COUNT NINE
[ Distribution of Heroin - 21 U.S.C. § 841(a)(1) ]

The Grand Jury further charges that:

On or about July 17, 2017, in the Southern District of lndiana, lndianapolis Division, the
Defendant, RICARDO OCHOA-BELTRAN, aka “Ricardo Jovany SancheZ-Sandoval,” aka
“Gio,” aka “Jesus SancheZ-Gallardo,” aka “Alejandro Garcia-Torres,” did knowingly and
intentionally distribute a mixture or substance containing a detectable amount of heroin, a
Schedule I, narcotic controlled substance, in violation of Title 21 , United States Code, Section
841(a)(1).

COUNT TEN
[ Felon in Possession of Firearm or Firearm Silencer ~ 18 U.S.C. § 922(g)(1) ]

The Grand Jury further charges that:

On or about July 17 , 2017, in the Southern District of lndiana, Indianapolis Division, the
Defendant, CESAR SALGADO, having been previously convicted of a crime punishable by
imprisonment for a term exceeding one year,

To wit: Robbery, in Marion County, lndiana, Superior Couit, on or about January 18,

201 2,

did knowingly possess a firearm and firearm silencer, to witt a Smith & Wesson, Model M&P15
5.56 caliber rifle, serial number SU91416, and an AWC Systems Technology, LLC, Model
Optima II, 5.56 caliber firearm silencer, serial number 970579, said firearm and firearm silencer
having been shipped and transported in interstate and foreign commerce,

All in violation of Title 18, United States Code, Section 922(g)(1).

 

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COUNT ELEVEN
[ Conspiracy to Launder Money - 18 U.S.C. § 1956(h) ]

The Grand Jury further charges that:

1. The allegations in paragraphs 1 through 27 of Count One of this Superseding
lndictment are realleged as if fully set forth here.

2. Be ginning on a date unknown to the Grand Jury, but at least as early as January
2016, and continuing through on or about July 17, 2017, in the Southern District of lndiana,
Iridianapolis Division, and elsewhere, RICARDO OCHOA-BELTRAN, aka “Ricardo Jovany
Sanchez-Sandoval,” aka “Gio,” aka “Jesus Sanchez-Gallardo,” aka “Alejandro Garcia-Torres,”
MIGUEL LARA-LEON, aka “Chaparro,” MEGAN CASTLETON, and BRYAN STOCKER,
the defendants herein, did knowingly combine, conspire, and agree with each other and with
persons known and unknown to the Grand Jury to commit offenses against the United States in
violation of Title 18, United States Code, Section 1956, to wit: to knowingly conduct and attempt
to conduct financial transactions which involved the proceeds of specified unlawful activity, that
is, drug trafficking, knowing that the property involved in the transactions represented the
proceeds of specified unlawful activity and knowing that the transactions were designed in whole
or in part to conceal and disguise the nature, the location, the source, the ownership, and the
control of the proceeds of specified unlawful activity, in violation of Title 18, United States
Code, Section l956(a)(1)(B)(i).

MANNER AND MEANS
The charged conspiracy operated in the following manner:
3. As set forth in Count One, OCHOA-BELTRAN directed the activities of a drug

trafficking organization (“DTO”) that operated in lndianapolis, lndiana, and elsewhere.

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OCHOA-BELTRAN supplied drugs, including methamphetamine, cocaine, and heroin, to
LARA-LEON and others for re~distribution in the Indianapolis, lndiana, area.

4. OCHOA-BELTRAN also directed the activities of a money laundering
organization (“MLO”) that laundered the proceeds of the DTO’s drug sales.

5. OCHOA-BELTRAN, on his own and through others, directed members of the
MLO in Indiana and elsewhere to use their bank accounts to funnel drug proceeds from Indiana
to California. OCHOA-BELTRAN, on his own and through others, directed members of the
MLO and others in Indiana (collectively, “the Accountholders”) to make cash deposits of drug
proceeds into various bank accounts in the Southern District of lndiana and elsewhere. The
Accountholders included LARA-LEON, CASTLETON, STOCKER, S.M. (an individual known
to the Grand Jury, but not indicted herein), and C.R.H. (an individual known to the Grand Jury,
but not indicted herein), The Accountholders made cash deposits in amounts less than $10,000.

6. OCHOA-BELTRAN, on his own and through others, then directed some of the
Accountholders, including LARA-LEON, CASTLETON, S.M., and C.R.H., to transfer the
deposited drug proceeds to bank accounts in Califorriia controlled by the DTO. In many
instances, members of the MLO then withdrew the drug proceeds in the form of United States
currency from the bank accounts in California.

7. OCHOA-BELTRAN, on his own and through others, directed members of the
MLO and others to wire drug proceeds from lndiana and elsewhere to Mexico.

ACTS IN FURTHERANCE OF THE CONSPIRACY
On or about the dates below, the defendants and others performed acts in furtherance of

the conspiracy and to effect the goals and conceal the existence of the conspiracy, in the

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Southern District of lndiana, lndianapolis Division, and elsewhere, including but not limited to
the following:

8. ` On or about September 17, 2015, OCHOA-BELTRAN opened a J.P. Morgan
Chase Bank (“Chase Bank”) account under the alias Alejandro Torres (“the Torres Account”).

9. Between January 23, 2016, and January 27, 2016, in Indianapolis, lndiana,
approximately $8,390 of drug proceeds were deposited into an account held by LARA-LEON at
Chase Bank.

10. On January 27, 2016, LARA-LEON transferred approximately $7,000 from his
Chase Bank Account to the Torres Account.

11. On February 18, 2016, in Indianapolis, lndiana, Co-Conspirator #1 (identity
known to the Grand Jury) deposited approximately $4,360 in drug proceeds into his or her Chase
Bank Account.

12§ On February 18, 2016, Co-Conspirator #1 transferred approximately $4,000 from
his or her Chase Bank Account to the Torres Account.

13. Between February 20, 2016, and February 22, 2016, in lndianapolis, lndiana, Co-
Conspirator #1 deposited approximately $l3,000 in drug proceeds into his or her Chase Bank
Account.

l4. On February 22, 2016, Co-Conspirator #1 transferred approximately $13,000
from his or her Chase Bank Account to the Torres Account.

15. On March 23, 2016, in lndianapolis, lndiana, CASTLETON deposited
approximately $7,760 in drug proceeds into her Chase Bank Account.

16. On March 23, 2016, CASTLETON transferred approximately $7,760 from her

Chase Bank Account to the Torres Account.

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17. On April 5, 2016, at the direction of CASTLETON, C.R.H. deposited
approximately $8,000 in drug proceeds into his or her Chase Bank Account in lndianapolis,
lndiana, l

18. On April 5, 2016, at the direction of CASTLETON, C.R.H. transferred
approximately $8,000 from his or her Chase Bank Account to a Chase Bank account controlled
by the DTO (“DTO Account #l”).

19. On June 27, 2016, at the direction of CASTLETON, C.R.H. deposited
approximately $9,443.88 in drug proceeds into his or her Chase Bank Account in Indianapolis,
Indiana.

20. On June 27, 2016, at the direction of CASTLETON, C.R.H. transferred
approximately $9,443.88 from his or her Chase Bank Account to LARA-LEON’s Chase Bank
Account.

21. On June 27, 2016, at the direction of CASTLETON, S.M. deposited
approximately $9,112.74 in drug proceeds into his or her Chase Bank Account in lndianapolis,
Indiana.

22. On June 27, 2016, at the direction of CASTLETON, S.M. transferred
approximately $9,112.74 from his or her Chase Bank Account to DTO Account #l.

23. On June 28, 2016, in lndianapolis, lndiana, CASTLETON deposited
approximately $9,538 in drug proceeds into her Chase Bank Account.

24. On June 28, 2016, CASTLETON transferred approximately $9,538 from her
Chase Bank Account to OCHOA-BELTRAN’s Chase Bank Account.

25. On June 29, 2016, in lndianapolis, lndiana, CASTLETON deposited

approximately $9,445 in drug proceeds into her Chase Bank account.

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26. On June 29, 2016, CASTLETON transferred approximately $9,445 from her
Chase Bank Account to OCHOA-BELTRAN’s Chase Bank Account.

27. On June 29, 2016, OCHOA-BELTRAN withdrew approximately $9,000 from his
Chase Bank Account in California.

28. On September 23, 2016, the DTO sent wire transfers in the approximate amounts
of $708 and $990 to Sinaloa, Mexico. l

29. On September 30, 2016, the DTO sent approximately $988 via wire transfer to
Sinaloa, Mexico.

30. On March 8, 2017, STOCKER opened a bank account at Wells Fargo Bank in
Rushville, lndiana,

31. On March ll, 2017, in Rushville, lndiana, approximately $9,000 in drug proceeds
were deposited into an Account held by STOCKER at Wells Fargo Bank.

32. On March 14, 2017, STOCKER Withdrew approximately $8,000 from his Wells
Fargo Bank Account in or around Vallejo, California.

33. On March 24, 2017, in Rushville, lndiana, approximately $9,000 in drug proceeds
were deposited into STOCKER’s Account at Wells Fargo Bank.

34. On March 29, 2017, STOCKER withdrew approximately $8,800 from his Wells
Fargo Bank Account in or around North Platte, Nebraska.

35. On April 14, 2017, the DTO sent wire transfers in the approximate amounts of
$790, $910, and $990 from Indianapolis, lndiana, to Sinaloa, Mexico.

36. On April 15, 2017 , the DTO sent wire transfers in the approximate amounts of
$575, $710, $754, $790, $804, $817, $914, and $926 from Indianapolis, lndiana, to Sinaloa,

Mexico.

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37. On April 17 , 2017 , the DTO sent wire transfers in the approximate amounts of
$787, $860, $865, $890, and $955 from Indianapolis, lndiana, to Sinaloa, Mexico.

38. On July 5, 2017, in Galesburg, Illinois, CASTLETON, using the alias Mirella
Sanchez, and Individual #1 (identity known to the Grand Jury), possessed approximately $8,500
and $9,000, respectively, in U.S. Currency. v

All in violation of Title 18, United States Code, Section 195 6(h).

FORFEITURE ALLEGATION

l. The allegations in Counts One through Eleven of this Superseding Indictment are
re-alleged as if fully set forth here, for the purpose of giving the defendants notice of the United
States’ intent to seek forfeiture pursuant to Title 21, United States Code, Section 853, Title 18,
United States Code, Section 924, and Title 28, United States Code, Section 2461.

2. If convicted of one or more of the offenses set forth in Counts One through Ten of
this Superseding Indictinent, RICARDO OCHOA-BELTRAN, aka “Ricardo Jovany Sanchez-
Sandoval,” aka “Gio,” aka “Jesus Sanchez-Gallardo,” aka “Alejandro Garcia-Torres,” MIGUEL
LARA-LEON, aka “Chaparro,” CESAR SALGADO, ANGELICA NAOMI GUZMAN-
CORDOBA, and LISSA GARCIA shall forfeit to the United States any and all property
constituting or derived from any proceeds the defendants obtained directly or indirectly as a
result of the offenses of Which he or she is convicted, and any and all property used or intended
to be used in any manner or part to commit and to facilitate the commission of the offenses of
which he or she is convicted.

3. If convicted of the offenses set forth in Counts One through Eleven of this
Superseding Indictment, RICARDO OCHOA-BELTRAN, aka “Ricardo Jovany Sanchez-

Sandoval,” aka “Gio,” aka “Jesus Sanchez-Gallardo,” aka “Alej andro Garcia-Torres,” MIGUEL

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LARA-LEON, aka “Chaparro,” CESAR SALGADO, ANGELICA NAOMI GUZMAN-
CORDOBA, LISSA GARClA, MEGAN CASTLETON, and BRYAN STOCKER shall also
forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 246l(c), any firearm or ammunition involved in or used in any of

the offenses of which he or she is convicted.

A TRUE BILL:

 

FO PE SON

JOSH J. MINKLER
United States Attorney

Byr M\A/`LZ;\-\@

M. Kendra P urnp \ \\
Assistant United States Attomey

 

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